                                                              Case 2:07-cr-00515-WBS Document 372 Filed 09/26/13 Page 1 of 2


                                                    1   Kresta Nora Daly, SBN 199689
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                                                    3   Telephone: (916) 440-8600
                                                        Facsimile: (916) 440-9610
                                                    4   Email: kdaly@btdlaw.net
                                                    5   Attorneys for Defendant
                                                        ARICELA VILLA
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                                                    8                                   IN THE UNITED STATES DISTRICT COURT

                                                    9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                   10

                                                   11   UNITED STATES OF AMERICA,                            Case No. 2:07-CR-515-WBS
                                                   12                      Plaintiff,                        STIPULATION AND
B ARTH T OZER & D ALY LLP




                                                                                                             ORDER
                       S ACRAMENTO , C ALIFORNIA




                                                   13             v.
                           A TTORNEYS A T L AW




                                                   14   ARICELA VILLA,                                       Date: September 30, 2013
                                                                                                             Time: 9:30 a.m.
                                                   15                      Defendant.                        Judge: Honorable William B. Schubb

                                                   16

                                                   17             It is hereby stipulated and agreed to between the United States of America through

                                                   18   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                   19   Kresta Nora Daly, that the sentencing set for September 30, 2013 be vacated and that a new

                                                   20   sentencing date be set for November 18, 2013 at 9:30 a.m.

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                                                                STIPULATION AND [PROPOSED] ORDER                                  [Case No. 2:07-CR-00515-WBS]
                                                          Case 2:07-cr-00515-WBS Document 372 Filed 09/26/13 Page 2 of 2


                                                    1
                                                        Daated: Septem
                                                                     mber 25, 201
                                                                                13.              Respectfully
                                                                                                 R          y submitted,
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                                                                                                         ZER & DAL
                                                                                                                 LY LLP
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                                                                                                 By
                                                                                                 B      /s/ K
                                                                                                            Kresta Nora D
                                                                                                                        Daly
                                                    5                                                   KRE ESTA NORA   A DALY
                                                                                                        Attorrneys for AR
                                                                                                                        RICELA VIL
                                                                                                                                 LLA
                                                    6

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                                                        Daated: Septem
                                                                     mber 25, 201
                                                                                13.              By
                                                                                                 B      /s/ K
                                                                                                            Kresta Nora DDaly
                                                    8                                                   MICH HAEL BEC   CKWITH
                                                                                                        Assisstant Unitedd States Attorrney
                                                    9

                                                   10                                                 ORDER

                                                   11                    IT IS SO ORDERED.
                                                                                  O      .

                                                   12
B ARTH T OZER & D ALY LLP




                                                        Daated: Septem
                                                                     mber 25, 201
                                                                                13
                       S ACRAMENTO , C ALIFORNIA




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                           A TTORNEYS A T L AW




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                                                              STIPULATION AND [PROPOSED
                                                                                      D] ORDER                                       [C
                                                                                                                                      Case No. 2:07-CR-000515-WBS]
